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                                                                                 U. S. D e p a rt m e nt of J usti c e

                                                                                 U nit e d St at es Att or n e y
                                                                                 S o ut h er n Distri ct of N e w Y or k


                                                                                 T h e Sil vi o J. M oll o B uil di n g
                                                                                 O n e S ai nt A n dr e w’s Pl a z a
                                                                                 N e w Y or k, N e w Y or k 1 0 0 0 7


                                                                                 Ja n u ar y 1 2, 2 0 2 1

      B Y E CF

      T h e H o n or a bl e C at h y S ei b el
      U nit e d St at es Distri ct J u d g e
      3 0 0 Q u arr o p as Str e et
      W hit e Pl ai ns, N Y 1 0 6 0 1

                 RE :       U nit e d St at es v. D a ’ Q u a n J o h ns o n, et al., 1 4 C r. 4 7 6 ( C S)

      D e ar J u d g e S ei b el :

                 P l e as e b e a d vis e d t h at I a m l e a vi n g t h e U nit e d St at es Att or n e y’s Offi c e f or ot h er
      e m pl o y m e nt. A c c or di n gl y, pl e as e r e m o v e m e as c o u ns el of r e c or d i n t h e a b o v e- c a pti o n e d c as e.
      T h a n k y o u v er y m u c h f or t h e C o urt’s c o nsi d er ati o n.


T h e Cl er k s h all t er mi n at e Mr. Z ol ki n d as
c o u ns el f or t h e G o v er n m e nt.                                        R es p e ctf ull y s u b mitt e d,

                                                                                 A U D R E Y ST R A USS
                                                                                 A cti n g U nit e d St at es Att or n e y

                                                                       B y:      /s D o u gl as S. Z ol ki n d
                                                                                 D o u gl as S. Z ol ki n d
                                                                                 Assist a nt U nit e d St at es Att o r n e y
                                                                                 ( 2 1 2) 6 3 7- 2 4 1 8
  1/ 1 2/ 2 1
